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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
RALPH W. BAKER, JR.,

                               Plaintiff,
         -v-                                                CIVIL ACTION NO.: 22 Civ. 7986 (JPO) (SLC)

TA-NEHISI P. COATES, et al.,                                                    ORDER

                               Defendants.

SARAH L. CAVE, United States Magistrate Judge.

         In connection with their motions to dismiss, Defendants The Apollo and Kamilah Forbes

(the “Apollo Defendants”) and Defendant Apple Inc. (with the Apollo Defendants, the

“Defendants”) each reference video exhibits (the “Exhibits”). (ECF Nos. 98-1; 116-1). Pursuant

to the Court’s orders at ECF Nos. 88 and 113, Defendants submitted the Exhibits on compact discs

(the “Discs”). The Discs, however, contain only two plain-text files—one .m3u file and one .xspf

file—and do not appear to contain playable video files. As a result, the Court is unable to view

the referenced videos. Accordingly, by May 12, 2023, Defendants shall re-submit the Exhibits on

compact discs or another data storage format containing playable video files.

         The Court notes that pro se Plaintiff Ralph Baker, Jr. (“Mr. Baker”) previously advised the

Court that he “could not open the disc” that the Apollo Defendants provided to him.

(ECF No. 137; see ECF No. 139). The Apollo Defendants shall promptly ascertain whether the disc

provided to Mr. Baker contained video data and, if not, shall re-send to Mr. Baker a disc

containing playable video files.

Dated:          New York, New York                    SO ORDERED.
                May 10, 2023
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                                                      SARAH L. CAVE
                                                      United States Magistrate Judge
